                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000                               FILED
Molly C. Dwyer
Clerk of Court                                                                         MAR 24 2025
                                                                                    MOLLY C. DWYER, CLERK
                                                                                     U.S. COURT OF APPEALS

                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


       Docket Number:           25-1922
       Originating Case Number: 2:25-cv-00244-LK

       Short Title:                  State of Washington, et al. v. Trump, et al.

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
      involving an organizational victim; or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant(s) to comply with the time schedule order will result in
      dismissal of the appeal.
Please read the enclosure materials carefully.
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
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Clerk of Court



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        Monday, March 31, 2025
        Donald J. Trump                                    Mediation Questionnaire due
        DOJ - United States Department of Justice          Mediation Questionnaire due
        Pamela Bondi                                       Mediation Questionnaire due
        United States Department of Health and Human       Mediation Questionnaire due
        Services
        Dorothy Fink                                       Mediation Questionnaire due
        United States Department of Agriculture            Mediation Questionnaire due
        Gary Washington                                    Mediation Questionnaire due
        United States Department of Commerce               Mediation Questionnaire due
        Jeremy Pelter                                      Mediation Questionnaire due
        United States Department of Defense                Mediation Questionnaire due
        Peter Hegseth                                      Mediation Questionnaire due
        United States Department of Education              Mediation Questionnaire due
        Denise Carter                                      Mediation Questionnaire due
        United States Department of Energy                 Mediation Questionnaire due
        Ingrid Kolb                                        Mediation Questionnaire due
        United States Department of Veterans Affairs       Mediation Questionnaire due
        Todd B. Hunter                                     Mediation Questionnaire due
        National Aeronautics and Space Administration      Mediation Questionnaire due
Janet Petro                                       Mediation Questionnaire due
National Science Foundation                       Mediation Questionnaire due
Sethuraman Panchanathan                           Mediation Questionnaire due
Office of the Director of National Intelligence   Mediation Questionnaire due
Lora Shiao                                        Mediation Questionnaire due
United States of America                          Mediation Questionnaire due
United States Agency for International            Mediation Questionnaire due
Development
Marco Rubio                                       Mediation Questionnaire due
United States Department of the Treasury          Mediation Questionnaire due
Scott Bessent                                     Mediation Questionnaire due
United States Department of Transportation        Mediation Questionnaire due
Sean Duffy                                        Mediation Questionnaire due
United States Small Business Administration       Mediation Questionnaire due
Everett Woodel, Jr.                               Mediation Questionnaire due

Monday, April 21, 2025
Donald J. Trump                                   Preliminary Injunction Opening
                                                  Brief Due
DOJ - United States Department of Justice         Preliminary Injunction Opening
                                                  Brief Due
Pamela Bondi                                      Preliminary Injunction Opening
                                                  Brief Due
United States Department of Health and Human      Preliminary Injunction Opening
Services                                          Brief Due
Dorothy Fink                                      Preliminary Injunction Opening
                                                  Brief Due
United States Department of Agriculture           Preliminary Injunction Opening
                                                  Brief Due
Gary Washington                                   Preliminary Injunction Opening
                                                  Brief Due
United States Department of Commerce              Preliminary Injunction Opening
                                                  Brief Due
Jeremy Pelter                                     Preliminary Injunction Opening
                                                  Brief Due
United States Department of Defense               Preliminary Injunction Opening
                                                  Brief Due
Peter Hegseth                                     Preliminary Injunction Opening
                                                  Brief Due
United States Department of Education             Preliminary Injunction Opening
                                                  Brief Due
Denise Carter                                     Preliminary Injunction Opening
                                                  Brief Due
United States Department of Energy                Preliminary Injunction Opening
                                                  Brief Due
Ingrid Kolb                                       Preliminary Injunction Opening
                                                  Brief Due
United States Department of Veterans Affairs      Preliminary Injunction Opening
                                                  Brief Due
Todd B. Hunter                                    Preliminary Injunction Opening
                                                  Brief Due
National Aeronautics and Space Administration     Preliminary Injunction Opening
                                                  Brief Due
Janet Petro                                       Preliminary Injunction Opening
                                                  Brief Due
National Science Foundation                       Preliminary Injunction Opening
                                                  Brief Due
Sethuraman Panchanathan                           Preliminary Injunction Opening
                                                  Brief Due
Office of the Director of National Intelligence   Preliminary Injunction Opening
                                                  Brief Due
Lora Shiao                                        Preliminary Injunction Opening
                                                  Brief Due
United States of America                          Preliminary Injunction Opening
                                                  Brief Due
United States Agency for International            Preliminary Injunction Opening
Development                                       Brief Due
Marco Rubio                                       Preliminary Injunction Opening
                                                  Brief Due
United States Department of the Treasury          Preliminary Injunction Opening
                                                  Brief Due
Scott Bessent                                     Preliminary Injunction Opening
                                                  Brief Due
United States Department of Transportation             Preliminary Injunction Opening
                                                       Brief Due
Sean Duffy                                             Preliminary Injunction Opening
                                                       Brief Due
United States Small Business Administration            Preliminary Injunction Opening
                                                       Brief Due
Everett Woodel, Jr.                                    Preliminary Injunction Opening
                                                       Brief Due

Monday, May 19, 2025
State of Washington                                    Preliminary Injunction Answering
                                                       Brief Due
State of Minnesota                                     Preliminary Injunction Answering
                                                       Brief Due
State of Oregon                                        Preliminary Injunction Answering
                                                       Brief Due
Physician                                              Preliminary Injunction Answering
                                                       Brief Due
State of Colorado                                      Preliminary Injunction Answering
                                                       Brief Due


If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
